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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 KIERAN O’HARA, on behalf of himself and
 all other similarly situated individuals,

        Plaintiff,
 v.                                                   Case No. 15-14139
 DIAGEO BEER COMPANY USA & DIAGEO
 NORTH AMERICA, INC.

        Defendants.

              NOTICE OF SETTLEMENT AND REQUEST FOR HEARING

       Plaintiff, Kieran O’Hara, and Defendants, Diageo Beer Company USA and Diageo North

America Inc., hereby jointly notify the Court that they have reached a settlement agreement in

principle in this action, which resolves all matters pending before the Court.

       Accordingly, the parties jointly request that all pending case matters and events be removed

from the docket and that the Court schedule a hearing date in mid to late June 2021 for the joint

Motion for Preliminary Approval of Class Action Settlement.

       Further, the parties will jointly prepare and file said Motion for Preliminary Approval of

Class Action Settlement on or before June 1, 2021.



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Respectfully,

/s/ Michael Forrest_________________      /s/ Jacob J. Struck_____________
Michael C. Forrest, Esq. (BBO #68140)     Jacob J. Struck (BBO# 680197)
Kevin J. McCullough, Esq. (BBO #644480)   HUNTON ANDREWS KURTH LLP
FORREST, LAMOTHE, MAZOW,                  60 State Street, Suite 2400
MCCULLOUGH, YASI & YASI, P.C.             Boston, MA 02109
2 Salem Green, Suite 2                    617-648-2751
Salem, MA 01970                           JStruck@huntonAK.com
(617) 231-7829
mforrest@forrestlamothe.com               Leslie Kostyshak (Pro Hac Vice)
kmccullough@forrestlamothe.com            HUNTON ANDREWS KURTH LLP
                                          2200 Pennsylvania Avenue, NW
Counsel for Plaintiff                     Washington, DC 20037
                                          202-778-2268
                                          LKostyshak@HuntonAK.com

                                          Samuel A. Danon (Pro Hac Vice)
                                          HUNTON ANDREWS KURTH LLP
                                          1111 Brickell Ave., Ste. 2500
                                          Miami, FL 33131
                                          305-810-2500
                                          sdanon@hunton.com

                                          - and –

                                          Euripides D. Dalmanieras
                                          (BBO# 650985)
                                          FOLEY HOAG LLP
                                          Seaport World Trade Center West
                                          155 Seaport Boulevard
                                          Boston, MA 02210-2600
                                          617-832-1000
                                          EDalmani@foleyhoag.com

                                          Counsel for Defendants

Dated: April 19, 2021
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                                 CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2, I, Jacob Struck, hereby certify that this document filed

through the ECF System on April 19, 2021 will be sent electronically to the registered participants

as identified on the Notice of Electronic Filing.

                                              /s/ Jacob J. Struck
                                              Jacob J. Struck
